                       Case 4:16-cr-00064-BMM Document 89 Filed 04/18/17 Page 1 of 7
AO 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT                                                FILED
                                                                  District of Montana
                                                                                                                     APR 18 2017
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMb)iA~CS~
                                  v.                                                                      District Of Montana
                                                                            )                            Great Falls Division
                                                                            )
                       ASHLEY SOLHEIM                                            Case Number: CR 16·64-GF-BMM-02
                                                                           )
                                                                           )      USM Number: 16524-046
                                                                           )
                                                                           )       R. Hank Branom
                                                                                              Attorney
                                                                           )
THE DEFENDANT:
Ii1 pleaded guilty to count(s)         2 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
 18 U.S.C. §§ 1152, 2              Burglary                                                                  41712016                    2
 and M.e.A. § 45-6-204(1)(a)




       The defendant is sentenced as provided in pages 2 through          __7_ _ _ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
   Count(s)                                                  IS     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in econonuc circumstances.




                                                                          Brian Morris, United States District Judge
                                                                         Name and Title of Judge


                                                                          4/17/2017
                         Case 4:16-cr-00064-BMM Document 89 Filed 04/18/17 Page 2 of 7

AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page       of
 DEFENDANT: ASHLEY SOLHEIM
 CASE NUMBER: CR 16-64-GF-BMM-02

                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  6 months




     Ii1 The court makes the following recommendations to the Bureau of Prisons:
  The Court recommends that the Defendant be placed in FCI Waseca, if possible.




     o The defendant is remanded to the custody of the United States Marshal.
     Ii1 The defendant shall surrender to the United States Marshal for this district:
            o at                                   0 a.m.            p.m.    on

            ~ as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                                            By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page ~ of                7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 three years


                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
               pose a low risk of future substance abuse. (check ifapplicable)
4.    IY1 You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page     __-'.4__ of _ _---:7'--__
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02

                                       STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewherc, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
II.   You must not act or makc any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: \vww.useourts.gOV.


Defendant's Signature                                                                                     Date
                                                                                                                 ----------------------
                                                                                                                     _._-----­



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AO 245B(Rev, 11/16)   Judgment in a Criminal Case
                      Sheet 3D - Supervised Release
                                                                                             Judgment-Page ~ of              7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall be monitored by Radio Frequency (RF) Monitoring for a period of 6 months, and shall abide by all
 technology requirements. the participant shall pay all or part of the costs of participation in the location monitoring program
 as directed by the court and probation officer. This form of location monitoring technology shall be utilized to monitor the
 following restriction on the defendant's movement in the community as well as other court-imposed conditions of release:
 You are restricted to your residence at all times except for employment; education; religious services; medical, substance
 abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as
 pre-approved in writing by the probation officer.

 2. The defendant shall submit her person, residence, vehicles, and papers, to a search, with or without a warrant by any
 probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.

 3. The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
 States Probation Office, until the defendant is released from the program by the probation office. The defendant is to pay
 part or all of the cost of this treatment, as directed by the United States Probation Office.

 4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol consumption only.

 5. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests, not more than
 104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 6. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
 synthetic stimUlants that are not manufactured for human consumption, for the purpose of altering her mental or physical
 state.

 7. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.

 8. All employment must be approved in advance in writing by the United States Probation Office. The defendant shall
 consent to third-party disclosure to any employer or potential employer.

 9. The defendant will provide the United States Probation Office with any requested financial information and shall incur no
 new lines of credit without prior approval of the United States Probation Office. You must notify the Probation Office of any
 material changes in your economic circumstances that might affect your ability to pay restitution, fines or special
 assessments.

 10. The defendant shall have no contact with the victim in the instant offense.

 11. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 12. The defendant shall pay restitution in the total amount of $6,601.97 jOintly and severally with co-defendant Charles
 Spotted Wolf. The defendant is to make payments at a rate of $200 per month, or as otherwise directed by United States
 Probation. Payments shall be made to Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue
 West, Suite 110, Great Faits, Montana 59404, and disbursed to:

 M.W.
 P.O. Box 975
 Poplar, MT 59255
                        Case 4:16-cr-00064-BMM Document 89 Filed 04/18/17 Page 6 of 7
AO 245B (Rev, 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment -- Page _-"'-_ of             7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*           Fine                        Restitution
 TOTALS            $ 100,00                     $ N/A                      $ WAIVED                    $ 6601.97


 o The determination of restitution is deferred until          ----
                                                                      • An Amended Judgment in a Criminal Case (AO USC) will be entered
      after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is patd.

 Name of Payee                                Total Loss**                   Restitution Ordered                    Priority or Percentage
  M.W.                                                                                            $6,601.97

  P.O. Box 975
  Poplar, MT 59255




 TOTALS                              $


 o     Restitution amount ordered pursuant to plea agreement $

 o     The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S,C. § 3612(g).

 ~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o the interest requirement is waived for the o fine ~ restitution.
       o the interest requirement for the o fine 0 restitution is modified as follows:
 * Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                       Sheet 6   Schedule of Payments
                                                                                                                Judgment ~ Page _-'--_ of              7
 DEFENDANT: ASHLEY SOLHEIM
 CASE NUMBER: CR 16-64-GF-BMM-02

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     0      Lump sum payment of $                               due immediately, balance due

              o    not later than                                     , or
              o    in accordance with     0 C,        0    D,    o E,or          o Fbelow; or
B             Payment to begin immediately (may be combined with                 C,        OD,or             F below); or

 C     0      Payment in equal                        (e.g., week/y, monthly, quarterly) installments of $                        over a period of
                            (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

 D     0      Payment in eqnal                        (e.g.. weekly. monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     0      Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

 F     IiZl   Special instructions regarding the payment of criminal monetary penalties:

              Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
              the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
              the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
              Falls, MT 59404, ....AssessmenURestitution Ashley Solheim .....
 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 I?J   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        Defendant Ashley Solheim, CR 16-64-GF-BMM-02; Co-Defendant Charles Spotted Wolf, CR 16-64-GF-BMM-01
        Total Amount: $6,601.97; JoinUSeveral: $6,601.97
        Payee: M.W., Poplar, MT 59255


 o     The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

 o     The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) commumty restitution, (7) JVT A assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
